             Case 5:14-cv-00665-F Document 348 Filed 09/03/20 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

   RICHARD GLOSSIP, et al.,
   Plaintiffs,
   v.                                                         No:      14-cv-665-F
   RANDY CHANDLER, et al.,
   Defendants.

                    ORDER GRANTING MOTION FOR EXTENSION OF TIME

         For good cause shown, the court grants Defendants’ Motion for Extension of Time,

Doc. 347. The response to the Motion for Injunctive Relief is now due to be filed within

fourteen days of the court’s ruling on the Motion to Strike or Dismiss, Doc. 334, with no

response required if the court’s ruling moots the Motion for Injunctive Relief.

         Entered this 3rd day of September, 2020.




14-0665p078.PO (Chandler).docx
